Case 0:04-cr-60297-JIC Document11 Entered on FLSD Docket 11/30/2004 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 04-60297-CR-COHN/SNOW

UNITED STATES OF AMERICA,

vs.

ARRAIGNMENT INFORMATION SHEET

Jail No :_ON BOND

BILAL AHMED BHUTTA

Defendant. Language: Cy dy 2a

/

 

The above-named Defendant appeared before Magistrate Chris McAliley.
The defendant was arraigned and a plea of not guilty was entered.
Defendant and court-appointed/retained counsel of record will be
noticed for trial by the District Judge assigned to this case. The
following information is current as of this date:

Defendant: Address: wf.

 

Tel. No:

 

Defense Counsel: Name :_H. FRANK RUBIO
Address:_10800 BISCAYNE BLVD., STE. 570
MIAMI, FL 33161
Tel. No:_305-892-5297

Bond Set/Continued: $50,000 w/10%

Re

Dated this.x%lg’~day of NOVEMBER , 2004.

Cc:

CLARENCE MADDOX, CLERK

BY NANCY FLOOD
Deputy Clerk ~

   

U.S. Attorney TAPE NO._04H- ,
Defense Counsel DIGITAL START NO.
Pretrial Services

Clerk for Judge
